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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

JORGE CASTANEDA,                                     §
    Plaintiff,                                       §
                                                     §
v.                                                   §    CIVIL ACTION NO. 1:15-cv-259
                                                     §
TRAVELERS LLOYDS OF TEXAS                            §
INSURANCE COMPANY                                    §
     Defendant.                                      §

                            NOTICE OF REMOVAL OF ACTION
                           UNDER 28 U.S.C. § 1441(b) (DIVERSITY)

 TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COME NOW Defendant Travelers Lloyds of Texas Insurance Company (“Defendant”)

 hereby petition this Court pursuant to 28 U.S.C. §§ 1332, 1441(b), and 1446 for removal, on the

 basis of diversity of citizenship jurisdiction, to the United States District Court for the Western

 District of Texas, Austin Division, of the action numbered and styled Cause No. 15-0098-C; Jorge

 Castaneda v. Travelers Lloyds of Texas Insurance Company, in the County Court at Law Number

 2, Hays County, Texas (the “State Court case”), and in support thereof would respectfully show

 this Court as follows:

                                            I. FACTS

        1.      Plaintiff filed his Original Petition (“Petition”) in the State Court case on February

 23, 2015. A true and correct copy of the Original Petition is attached hereto as part of Exhibit A.

 In the Original Petition, Plaintiff asserted claims for breach of contract, prompt payment act

 claims, violations of the DTPA and Texas Insurance Code, unfair insurance practices, fraud,

 conspiracy, and breach of duty of good faith and fair dealing.

        2.      Plaintiff served Defendant with citation and a copy of his Petition in the State Court

 case on March 6, 2015. This Notice of Removal is filed within thirty (30) days of service of the
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Petition, in compliance with 28 U.S.C. § 1446(b).

       3.      Plaintiff is a citizen and resident of the State of Texas.

       4.      Defendant Travelers Lloyds of Texas Insurance Company is an unincorporated

Lloyds plan insurance association that sells insurance under a Lloyds Plan pursuant to Texas

Insurance Code Chapter 941, whose underwriters are all citizens of the State of

Connecticut. None of the underwriters are citizens of the State of Texas. The citizenship of an

unincorporated association is determined solely by the citizenship of its members. See Ponton v.

Allstate Texas Lloyd’s, No. H-10-4842, 2011 WL 2837592 (S.D. Tex. July 18, 2011).

                             II. AMOUNT IN CONTROVERSY

       5.      Plaintiff’s Petition is filed under Texas Rule of Civil Procedure 169:

       “The expedited actions process in this rule applies to a suit in which all claimants,
       other than counter-claimants, affirmatively plead that they seek only monetary
       relief aggregating $100,000 or less, including damages of any kind, penalties,
       costs, expenses, pre-judgment interest, and attorney fees.”

Thus, the petition includes an allegation supporting the award of $100,000 in damages.

                           III. COMPLETE DIVERSITY EXISTS

       6.      This action is a civil action which may be removed to this Court by Defendant

pursuant to the provisions of 28 U.S.C. §§ 1441(b) and 1332(a) in that it is between citizens of

different states and it is a civil action wherein the matter in controversy exceeds the sum of

$75,000.00, exclusive of interests and costs.

                           IV. PROCEDURAL REQUIREMENTS

       7.      By virtue of filing this Notice of Removal, Defendant does not waive its right to

assert any motions to dismiss, including Rule 12 motions permitted by the Federal Rules of Civil

Procedure. Defendant further reserves the right to seek an abatement of this cause of action until

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Plaintiff complies with the pre-suit notice requirements of Texas Business & Commerce Code

Chapter 17.505 and Texas Insurance Code Chapter 541.

       8.      All of the papers on file in the State Court case at the time of removal are attached

hereto as Exhibit A. Those papers include the citation, Plaintiff’s Original Petition, the county

court docket sheet, and all answers on file.

       9.      Pursuant to 28 U.S.C. § 1446(d), written notice of filing of this Notice will be given

to all adverse parties promptly after the filing of this Notice.

       10.     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice will be filed

with the County Clerk of Hays County, Texas promptly after the filing of this Notice.

                                             V. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants Travelers Lloyds of Texas

Insurance Company request that this action be removed from the County Court at Law Number 2,

Hays County, Texas to the United States District Court for the Western District of Texas, Austin

Division, and that this Court enter such further orders as may be necessary and appropriate.

                                               Respectfully submitted,

                                               SKELTON & WOODY
                                               248 Addie Roy Rd, Bldg B-302
                                               Austin, Texas 78746
                                               Telephone:    (512) 651-7000
                                               Facsimile:    (512) 651-7001

                                       By:     /s/ Edward F. Kaye
                                               J. Hampton Skelton
                                               State Bar No. 18457700
                                               Edward F. Kaye
                                               State Bar No. 24012942
                                               ATTORNEYS FOR DEFENDANT
                                               TRAVELERS LLOYDS OF TEXAS INSURANCE
                                               COMPANY

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of April, 2015, I am electronically filing the foregoing
with the Clerk of the Court using the Case Management/Electronic Case Files (“CM/ECF”)
system, and I hereby certify that I have mailed by certified mail, return receipt requested the
document to the following non-CM/ECF participant:

       Eric B. Dick, LL.M.
       Dick Law Firm, PLLC
       3701 Brookwoods Drive
       Houston, Texas 77092
       ebdick@gmail.com
       Fax: (713) 893-6931

                                                      /s/ Edward F. Kaye
                                                      Edward F. Kaye




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